      Case 2:18-cv-01832-SVW-JC Document 18 Filed 08/03/21 Page 1 of 6 Page ID #:118
pate\Time: 7/27/2021 12:23:23 PM                CDCR           Verified:
Institution: MCSP
                                       Inmate Statement Report
 Start Date:        1/27/2021      Revalidation Cycle:               All

 End Date:          7/27/2021      Housing Unit:                     All

 Inmate/Group#: H73384




                                                                                                              FILED
                                                                                                   CLERK, U.S. DISTRICT COURT


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      Case 2:18-cv-01832-SVW-JC Document 18 Filed 08/03/21 Page 2 of 6 Page ID #:119
Date\Time: 7/27/2021 12:23:23 PM                              CDCR           Verified:
Institution: MCSP
                                                     Inmate Statement Report
 CDCR#              Inmate/Group Name                Institution             Unit              Cell/Bed
 H73384             CARROLL, TREMAINE                MCSP                    D 018A1           105004


 Current Available Balance:                  $0.00


Transaction List
 Transaction
 Date        Institution      Transaction Type             Source Doc#              Receipt#/Check#               Amount      Account Balance

 01/27/2021     MCSP          BEGINNING BALANCE                                                                                     $1,200.10

 02/10/2021     MCSP          INMATE VOLUNTARY             JACQUELINE                        1075177             ($500.00)            $700.10
                              WITHDRAWAL                   GRACE MOR
 02/16/2021     MCSP          SALES                        9                                                     ($178.55)            $521.55

 02/17/2021     MCSP          REGULAR MAIL                 REG. MAIL 1125/21                                       ($0.51)            $521.04

 02/23/2021     MCSP          INMATE VOLUNTARY             JACQUELINE                        1075969             ($220.49)            $300.55
                              WITHDRAWAL                   GRACE MOR
 03!15/2021     MCSP          SALES                        11                                                    ($219.25)             $81.30

 03/18/2021     MCSP          COPY CHARGES                 REG. COPY 3/11/21                                       ($1.00)             $80.30

 04/21/2021     MCSP          SALES                        21                                                     ($69.60)             $10.70

 05/17/2021     MCSP          SALES                        4                                                      ($10.65)              $0.05
 05/18/2021     MCSP          INMATE SPECIAL               EIP 23423854                         20035            $1,400.00          $1,400.05
                              DEPOSIT - DO/CS ONLY
 06/17/2021     MCSP          INMATE VOLUNTARY             JACQUELINE                        1078829            ($1,000.00)           $400.05
                              WITHDRAWAL                   GRACE MOR
 06/18/2021     MCSP          SALES                        22                                                    ($208.60)            $191.45

 06/21/2021     MCSP          SALES                        40                                                    ($176.90)             $14.55

 06/22/2021     MCSP          LEGAL MAIL                   LEGAL MAIL 6/13/21                                      ($8.55)              $6.00

 06/25/2021     MCSP          LEGAL COPY                   LEGAL COPY                                              ($6.00)              $0.00
                                                           6.21.21

Encumbrance List
 Encumbrance Type                Transaction Date                            Amount
                                               *'No information was found for the given criteria.*'

 Obligation List                                                                                                                    -~

                                                                                                      Sum of Tx for Date
 Obligation Type           Court Case#           Original Owed Balance                                  Range for Oblg        Current Balance

 PLRA                      3:15-01722-LAB-                         $350.00                                          $0.00             $253.08
                           WVG
 PLRA                      3:16-CV01718-CAB-                       $350.00                                          $0.00             $297.48
                           JLB
 PLRA                      2:16-CV01759-TLN-                       $350.00                                          $0.00             $297.48
                           KJN
 REGULAR MAIL              REGULAR                                   $0.88                                          $0.00               $0.88

 REGULAR MAIL              REGULAR                                   $0.47                                          $0.00               $0.47

 REGULAR MAIL              REGULAR                                   $0.46                                          $0.00               $0.46

 REGULAR MAIL              REGULAR                                   $0.46                                          $0.00               $0.46

 REGULAR MAIL              REGULAR                                   $2.83                                          $0.00               $2.83

 COPY CHARGES              COPIES 112816                            $82.00              ~~~~,$~OAO                                     $81.93
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      Case 2:18-cv-01832-SVW-JC Document 18 Filed 08/03/21 Page 3 of 6 Page ID #:120
Date\Time: 7/27/2021 12:23:23 PM                           CDCR           Verified:
Institution: MCSP
                                                  Inmate Statement Report
                                                                                           Sum of Tx for Date
 Obligation Type          Court Case#           Original Owed Balance                        Range for Oblg           Current Balance
 REGULAR MAIL             ENVELOPES 112816                      $1.00                                    $0.00                   $1.00
 REGULAR MAIL             ENVELOPES 112916                      $0.80                                    $0.00                   $0.80
 REGULAR MAIL             SUPPLIES 120216                       $0.30                                    $0.00                   $0.30
 REGULAR MAIL             POSTAGE 113016                        $2.41                                    $0.00                   $2.41
 REGULAR MAIL             POSTAGE 113016                        $1.99                                    $0.00                   $1.99
 REGULAR MAIL             POSTAGE 113016                        $2.62                                    $0.00                   $2.62
 REGULAR MAIL             POSTAGE 112716                        $0.67                                    $0.00                   $0.67
 REGULAR MAIL             POSTAGE 112716                        $2.83                                    $0.00                   $2.83
 COPY CHARGES             COPIES 120216                        $76.00                                    $0.00                  $76.00
 REGULAR MAIL             ENVELOPES 120616                      $1.30                                    $0.00                   $1.30
 REGULAR MAIL             POSTAGE 121116                        $0.47                                    $0.00                   $0.47
 REGULAR MAIL             POSTAGE 121516                        $0.47                                    $0.00                   $0.47
 PLRA                     2:17-CV-00862-DB                   $350.00                                     $0.00                 $302.48
 PLRA                     2:16-CV-2443-JAM-                  $350.00                                     $0.00                 $313.23
                          EFB
 FEDERAL FILING FEE       320-CV-00079BAS-                   $350.00                                     $0.00                 $345.76
                          RBM
 P LRA                    220-CV-01707-KJ N                  $350.00                                     $0.00                 $350.00
 COPY CHARGES             REG. COPY 7/1/21                      $0.30                                    $0.00                   $0.30

 Restitution List

                                                                                                 Sum of Tx for Date
 Restitution        Court Case#     Status            Original Owed Balance Interest Accrued       Range for Oblg     Current Balance
 RESTITUTION        BA173778        Fulfilled                       $200.00              $0.00               $0.00               $0.00
 FINE
 RESTITUTION        BA178987        Fulfilled                       $200.00              $0.00               $0.00               $0.00
 FINE




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      Case 2:18-cv-01832-SVW-JC Document 18 Filed 08/03/21 Page 4 of 6 Page ID #:121




                                                                 Case Number: 2'~g"C~~ 01~ 3Z - ~~ w ~ ~J ~-'




                                                    CERTIFICATE OF FUNDS
                                                   IN PRISONER'S ACCOUNT

GDG~ H~ 33~'~

          I certify that attached hereto is a true and correct copy of the prisoner's trust account

  statement showing transactions of ~r`CYv~o~iv~.Q, Carroll,                         for the last six months at
                                                     (Prisoner's .~'anle)
  MIA.IQ. C ~'`c.Z[G S iu'~-~ ~riS Q ►1.                                    ,where (s}he is confined.
                  (,~1~nme of h~sliiution)


          I further certify that the averaee deposits each month to this prisoner's account for the most recent six-

  month period ~~~ere $ 233.3'                    and the average balance in the prisoner's account each month for the most

  recent six-month period was $ S 13 •'~`6



  Date:    ~ ~ ~~ ~ Z~                       Officer Name:          ~i- ~~l ~

                                             Signature:
                                                             A     rized Offrcer of the Institution
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                                                                                 Mule Creek tat Pris n                                        PRISON GENERATED MAIL                    ~~ U.S.POSTAGE~~PirNeveowes
                                                                                                                                              Mule Creek State Prison                      ~
                                                                                 Name:           ~     ~
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                                                                                 A ND REHABILITATION INDIGENT INMATE MAIL.. ~(~~
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                                                                                        Facility Post Office Boxes
                                                                                 Facility A             P.O. Box 409020
                                                                                 Facility B             P.O. Box 409040
                                                                                 Facility C             P.O. Box 409060
                                                                                 Facility D             P.O. Box 409089
                                                                                 Facility E             P.O. Box 409090
                                                                                 Facility Minimum P.O. Box 409000
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 UNAUTHORIZED ITEMS ~NITHIN INMATE MAIL
 Mail containing any of the following items will he disallowed:
 • Padded envelopes or rardboard containers.
 • Cardstock, sketch pads, construction paper or colored paper.
• Musical greeting cards. videos, CD's or Cassette tapes.
• Cash, pans. Oencils or markers
• Itlenrirr.ation cards, r:redit rants, bank yards,
                                                     phone cards, etc.
• Polam~~i pnotographs. nagatrves, s!~des or photo albums.
                                                                 Photos depicting drugs and/or drug                                                         w
    paraohernaiia. Photos, drawings, magazine 2rticles, and/or
                                                                    pictorials displaying frontal nudity of       AUTHORIZED ITEMS WITHIN INMATE MAIL
   either Mender are not allowed. Nothing that depicts displays,
                                                                     or describes sexual penetration or       ~   Incoming mail must weigh less than 13 ounces.
   sexual acts will be allowed.
• Gang aifilliated material, hand gestures or signs.                                                              • 40 postage stamps/pre-stamped envelopes.
• Clothing,food, hard plastic, metal, wood items, magnets, rubber,                                                • Letters.
                                                                          stickers glue or glitter.               • Greeting Ards.
• Tattoo patterns or tracing patterns. No jewelry will be allowed.
• Mail containing any unknown substance, powder. liquid,                                                          • Photographs(no larger than 8" x10'
                                                                or solid.                                         • Checke/Money orders with inmate's name and CDCR#.
• Lipstick, perfume, cologne, or scent of any kind.
• Anything deemed a threat to she ssfety and security of                                                          • Writing Paper(whlte/yellow Ilned only).
                                                              the Institution, or any wrrespondence               • Publications (books, magazines, newspapers) MUST come directly from vendor.
   deemed :.ircumvent~on of mail policies and procedures.                    .-
• Mail that does not have a full return address.                                                                  • For funds to be mailed directely to inmate's account, send through www.jpay.com or
                                                                                                                    (800)574-5729.
                                                                                                                                                                                                         Case 2:18-cv-01832-SVW-JC Document 18 Filed 08/03/21 Page 6 of 6 Page ID #:123
